  Case 3:18-cv-00165-MAB Document 114-4 Filed 12/14/20 Page 1 of 5 Page ID #1720
                                                                                       Exhibit C

04407.1/19344/Ti'D/CGT
                      UNITED STAUS DISMUCT COURT
                                 ILLINOIS, EAST ST. LOUIS DIVISION
             SOUTHERNDISTRICT OF

RICHARD
                      Plaintiff,
                                                 case          3:18-cv-00165-MJR-MAB

 NURSE BLAKE. ALFONSO DAVID,
 NURSESJOHN/JANEDOE      and                      Magistrate Judge Mark A. Beatty
 WARDEN OF SHAWNEE CORRECTIONAL
 CENTER,

                       Defendants.

                      DECLARATION OF BLAKE WOODS DNP APRN

         l, Blake Woods, DNP, APRN, duly affirm the following statements:

          l. My name is Blake Woods. I am of sound mind, over the age of 21 years and capable

   of making this declaration.

          2. I earned a Certificatein Practical Nursing from Shawnee Community College in
    2002, an Associate Degree in Nursing from Shawnee Community College in 2003, a Bachelor of

    Science in Nursing from JacksonvilleUniversityin 2011, a Master's Degree in Nursing as a

    Nurse Practitionerfrom Maryville University in 2014, and a Doctor of Nursing Practice from

    Wilkes University In 2017. I hold Registered Nurse and Advanced Practice Nursing licenses in

     Illinois and Kentucky.

            3. I was employedby Wexford Health Sources, Inc. as a Nurse Practitioner at Shawnee

      Correctional Center from December 2014 through April 2016.

             4. I have reviewed Mr. White's IDOC medical records provided to me by my attorney.

      They are the kinds of records I routinely used in my practice at Shawnee Correctional Center,
Case 3:18-cv-00165-MAB Document 114-4 Filed 12/14/20 Page 2 of 5 Page ID #1721




 and in "hich I documented the inmate's subjective complaints, my objective findings and

 assessments. and my plans for the inmates care.

        5. I made my entries in IDOC inmates' medical records on the date, and approximate

 time, that I saw and assessed the inmate.

        6. Mr. White's          medical records document that he reported that he injured his left

 knee on June 26, 2015. A Nurse Sick Call (NSC) note indicates that he reported his pain as a 5

 (on a pain scale of 0-10), and that she spoke with me. I gave the nurse a verbal order

 (documented as VO) for Mr. White to have crutches until I could see him in person, as well as

 Motrin (Ibuprofen, a nonsteroidal anti-inflammatory pain medication) 600 mg three times a day

 for 10 days.

         7. I saw Mr. White on June 30, 2015. I documented that Mr. White's gait was slow, and

 he was walking with a limp. Mr. White had no left knee swelling, no bruising, and no deformity

 Of his knee. I advised Mr. White to use crutches, gave him a slow walk permit for two weeks,

 sports restriction for one month, and scheduled him for a follow-up appointment in 10 days and

 noted that we would consider an X-ray if Mr. White was not better. Beside my order for Mr.

 White to follow up in 10 days a nurse wrote "7/10" indicating that he would be scheduled to see

 me on July 1(P

         8. On July 3, 2015, prior to his follow-up appointment, Mr. White was seen by a nurse

 and reported that his knee "popped again." The nurse contacted me by phone, and I ordered

 Decadron (a steroid) 8 mg by intramuscular injection to treat inflammation, and Naproxen

  (another nonsteroidal anti-inflammatorymedication). I had initially started Mr. White with the

  nonsteroidal anti-inflammatorymedication Motrin, or Ibuprofen, because it typically causes less

  stomach irritation than other similar medications. I changed that order to Naproxen because



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 Case 3:18-cv-00165-MAB Document 114-4 Filed 12/14/20 Page 3 of 5 Page ID #1722



                                                  itTitation it is more effective for pain control. I
although it can be more likely to cause stomach
                                                     ACE wrap. Those orders are       designated as
also ordered an X-ray OfMr. White's left knee and an

TO, for telephone order.
                                                       (MAR) documents that he received
       9. Plaintiff's Medication Administration Record

Decadron 8 mg by intramuscular injection (abbreviated 1M) on July 3, 2015.

        10. An X-ray of Mr. White's left knee was done on July 6, 2015.

        11.Mr. White was seen by a nurse on July 9, 2015 with complaints regarding his left

 knee. The nurse noted that Mr. White has an appointment with me the following day, and that he

 would follow-up with me as scheduled.

         12. I saw Mr. White again on July 10, 2015. I documented that Mr. White reported that

 his left knee was slightly better, and that he was walking without his crutches. I documented that

  the X-ray of Mr. White's left knee showed early arthritis with a small effusion (a collection of

  fluid in the joint, which can be due to arthritis), and no fracture. I noted that Mr. White had early

  osteoarthritis(abbreviatedby OA), and a small effusion of his left knee, and advised him to

  gradually increase his activity and discontinueuse of the crutches. I also ordered Indocin (a

  nonsteroidal anti-inflammatory medication) for one month. Indocin is a more effective

  Nonsteroidal anti-inflammatorymedication, however it is also known to cause stomach irritation.

   Since previous similar medications were not effective, I believed that changing to Indocin was

   appropriate at this time.

           13. Mr. White was seen by a nurse on July 17, 2015 and reported that he
                                                                                   "still walk with
   a limp & can't straightenmy left leg out." He also told the nurse
                                                                     that he had just started the
   Indocin the previous day. The nurse contacted me and I advised
                                                                      her to tell Mr. Smith to continue




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Case 3:18-cv-00165-MAB Document 114-4 Filed 12/14/20 Page 4 of 5 Page ID #1723



the tt%locinas I had pres<ibcd, and to follow up with me after he completed the medication. ne

nurse not«l that she had scheduled Slr. Smith to see me on August 13, 2015.

        14. I       not responsible for procuring, or dispensing, medications to inmates at



        IS. Slr.        was seen in NSC on August 10, 2015 with complaints of left knee pain.

The nurse documentedthat his left knee was larger than the right, and that he had decreased

range of motion of his left knee. The nurse circled "MD Referral" on the form, and noted that

Mr. Smith would have lay in and cnitches for five days.

        16. I saw Slr. White on August I l, 2015. I documented that Mr. White told me that his

left knee       vs,sorse."I documented that Mr. White's left patella (knee cap) was midline, and a

drawer test to determine if there was excessive laxity of his anterior cruciate ligament (ACL) was

negative. Mr. White had a moderate amount of left knee swelling and mild warmth, and I entered

a note referring Mr. White to see Dr. David.

        17. I saw Mr. White for the last time on January 29, 2016 regarding his anterior cruciate

ligament (ACL) issue being "unresolved," and for an unrelated complaint. He told me he still

had pain in his left knee, and was not doing his home exercise program physical therapy

(abbreviated as HEP) all the time. I documentedthat Mr. White was able to walk, and had no

knee swelling. I noted that he had a history of a left ACL sprain, and advised and educated him

on compliance with his HEP and taking nonsteroidal anti-inflammatory medications. I ordered

Naproxen 500 mg twice a day for 14 days.

        18. I had no further involvement in Mr. White's care, and left employment with Wexford,

 and Shawnee Correctional Center, in April 2016.




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Case 3:18-cv-00165-MAB Document 114-4 Filed 12/14/20 Page 5 of 5 Page ID #1724




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